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 6                                UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8   UNITED STATES OF AMERICA,                          )
                                                        )
 9                         Plaintiff,                   )
                                                        )
10           v.                                         )          2:10-CR-244-PMP (RJJ)
                                                        )
11   EUCARIO MARTINEZ-BOTELLO,                          )
                                                        )
12                         Defendant.                   )
13                            PRELIMINARY ORDER OF FORFEITURE
14           This Court finds that on September 10, 2010, defendant EUCARIO MARTINEZ-BOTELLO
15   pled guilty to a Two-Count Superseding Criminal Information charging him in Count One with
16   Possession with Intent to Distribute a Controlled Substance - Methamphetamine in violation of Title
17   21, United States Code, Section 841(a)(1) and (b)(1)(B)(viii) and in Count Two with Illegal Alien in
18   Possession of a Firearm in violation of Title 18, United States Code, Section 922(g)(5)(A).
19           This Court finds defendant EUCARIO MARTINEZ-BOTELLO agreed to the forfeiture of
20   the property set forth in the Forfeiture Allegations of the Superseding Criminal Information.
21           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of
22   America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the
23   Superseding Criminal Information and the offenses to which defendant EUCARIO MARTINEZ-
24   BOTELLO pled guilty.
25           The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section
26   924(d)(1) and Title 28, United States Code, Section 2461(c); Title 21, United States Code, Section
     Case
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 1   853(a)(2); Title 21, United States Code, Section 881(a)(11) and Title 28, United States Code, Section
 2   2461(c):
 3                          a)      a Ruger, model Security-Six, .357 caliber, six-shot revolver with black
 4                                  grips, bearing serial number 155-12881; and
 5                          b)      any and all ammunition (“property”).
 6           This Court finds the United States of America is now entitled to, and should, reduce the
 7   aforementioned property to the possession of the United States of America.
 8           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
 9   United States of America should seize the aforementioned property.
10           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
11   EUCARIO MARTINEZ-BOTELLO in the aforementioned property is forfeited and is vested in the
12   United States of America and shall be safely held by the United States of America until further order
13   of the Court.
14           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
15   shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
16   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
17   the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
18   the name and contact information for the government attorney to be served with the petition, pursuant
19   to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
20           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
21   with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
22           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
23   shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
24   following address at the time of filing:
25   ...
26   ...

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 1                  DANIEL D. HOLLINGSWORTH
                    Assistant United States Attorney
 2                  MICHAEL HUMPHREYS
                    Assistant United States Attorney
 3                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
 4                  Las Vegas, Nevada 89101.
 5             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
 6   need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
 7   following publication of notice of seizure and intent to administratively forfeit the above-described
 8   assets.
 9                          14th day
               DATED this ______        September, 2010. 2010.
                                 day of __________________,
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13                                                UNITED STATES DISTRICT JUDGE
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 1                                          PROOF OF SERVICE
 2              I, Alexandra M. McWhorter, certify that the following individuals were served with copies
 3   of the Preliminary Order of Forfeiture on September 13, 2010 by the below identified method of
 4   service:
 5
                E-mail/ECF
 6
                Brenda Weksler
 7              Federal Public Defender
                411 E. Bonneville Ave.
 8              Las Vegas, NV 89101
                Email: ECF_Vegas@FD.ORG
 9              Counsel for Eucario Martinez-Botello

10              James A. Oronoz
                700 S. Third Street
11              Las Vegas, NV 89101
                Email: jimoronoz@gmail.com
12              Counsel for Fernando Coronel-Zamora
13                                                  /s/AlexandraMMcWhorter
                                                   ALEXANDRA M. MCWHORTER
14                                                 Forfeiture Support Associate Paralegal
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